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 6   PNC BANK, NATIONAL ASSOCIATION
 7
 8                               UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11   LORENA STAFFORD,                                     Case No. 5:21-cv-00256-JGB-SHK
     ,
12               Plaintiff,
13               v.
                                                          STIPULATED PROTECTIVE
14   PNC BANK, NATIONAL                                   ORDER
     ASSOCIATION; EQUIFAX
15   INFORMATION SERVICES LLC;
     AND, EXPERIAN INFORMATION
16   SOLUTIONS, INC.,
17                            Defendant.
18
19
20
21
22 1.            A. PURPOSES AND LIMITATIONS
23               Discovery in this action is likely to involve production of confidential,
24 proprietary, or private information for which special protection from public disclosure
25 and from use for any purpose other than prosecuting this litigation may be warranted.
26 Accordingly, the parties hereby stipulate to and petition the Court to enter the
27 following Stipulated Protective Order. The parties acknowledge that this Order does
28 not confer blanket protections on all disclosures or responses to discovery and that the
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 1 protection it affords from public disclosure and use extends only to the limited
 2 information or items that are entitled to confidential treatment under the applicable
 3 legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
 4 that this Stipulated Protective Order does not entitle them to file confidential
 5 information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
 6 followed and the standards that will be applied when a party seeks permission from
 7 the court to file material under seal.
 8               B. GOOD CAUSE STATEMENT
 9               This action is likely to involve trade secrets, valuable research, development,
10 commercial, financial, technical and/or proprietary information for which special
11 protection from public disclosure and from use for any purpose other than prosecution
12 of this action is warranted. Such confidential and proprietary materials and
13 information consist of, among other things, confidential business or financial
14 information, information regarding confidential business practices, or other
15 confidential research, development, or commercial information (including information
16 implicating privacy rights of third parties), information otherwise generally
17 unavailable to the public, or which may be privileged or otherwise protected from
18 disclosure under state or federal statutes, court rules, case decisions, or common law.
19 Accordingly, to expedite the flow of information, to facilitate the prompt resolution of
20 disputes over confidentiality of discovery materials, to adequately protect information
21 the parties are entitled to keep confidential, to ensure that the parties are permitted
22 reasonable necessary uses of such material in preparation for and in the conduct of
23 trial, to address their handling at the end of the litigation, and serve the ends of justice,
24 a protective order for such information is justified in this matter. It is the intent of the
25 parties that information will not be designated as confidential for tactical reasons and
26 that nothing be so designated without a good faith belief that it has been maintained in
27 a confidential, non-public manner, and there is good cause why it should not be part of
28 the public record of this case.
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 1 2.            DEFINITIONS
 2               2.1   Action: This pending federal law suit.
 3               2.2   Challenging Party: a Party or Non-Party that challenges the designation
 4 of information or items under this Order.
 5               2.3   “CONFIDENTIAL” Information or Items: information (regardless of
 6 how it is generated, stored or maintained) or tangible things that qualify for protection
 7 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
 8 Cause Statement.
 9               2.4   Counsel: Outside Counsel of Record and House Counsel (as well as their
10 support staff).
11               2.5   Designating Party: a Party or Non-Party that designates information or
12 items that it produces in disclosures or in responses to discovery as
13 “CONFIDENTIAL.”
14               2.6   Disclosure or Discovery Material: all items or information, regardless of
15 the medium or manner in which it is generated, stored, or maintained (including,
16 among other things, testimony, transcripts, and tangible things), that are produced or
17 generated in disclosures or responses to discovery in this matter.
18               2.7   Expert: a person with specialized knowledge or experience in a matter
19 pertinent to the litigation who has been retained by a Party or its counsel to serve as an
20 expert witness or as a consultant in this Action.
21               2.8   House Counsel: attorneys who are employees of a party to this Action.
22 House Counsel does not include Outside Counsel of Record or any other outside
23 counsel.
24               2.9   Non-Party: any natural person, partnership, corporation, association, or
25 other legal entity not named as a Party to this action.
26               2.10 Outside Counsel of Record: attorneys who are not employees of a party
27 to this Action but are retained to represent or advise a party to this Action and have
28 appeared in this Action on behalf of that party or are affiliated with a law firm which
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 1 has appeared on behalf of that party, and includes support staff.
 2               2.11 Party: any party to this Action, including all of its officers, directors,
 3 employees, consultants, retained experts, and Outside Counsel of Record (and their
 4 support staffs).
 5               2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 6 Discovery Material in this Action.
 7               2.13 Professional Vendors: persons or entities that provide litigation support
 8 services (e.g., photocopying, videotaping, translating, preparing exhibits or
 9 demonstrations, and organizing, storing, or retrieving data in any form or medium)
10 and their employees and subcontractors.
11               2.14 Protected Material: any Disclosure or Discovery Material that is
12 designated as “CONFIDENTIAL.”
13               2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
14 from a Producing Party.
15 3.            SCOPE
16               The protections conferred by this Stipulation and Order cover not only
17 Protected Material (as defined above), but also (1) any information copied or extracted
18 from Protected Material; (2) all copies, excerpts, summaries, or compilations of
19 Protected Material; and (3) any testimony, conversations, or presentations by Parties
20 or their Counsel that might reveal Protected Material.
21               Any use of Protected Material at trial shall be governed by the orders of the trial
22 judge. This Order does not govern the use of Protected Material at trial.
23 4.            DURATION
24               Even after final disposition of this litigation, the confidentiality obligations
25 imposed by this Order shall remain in effect until a Designating Party agrees
26 otherwise in writing or a court order otherwise directs. Final disposition shall be
27 deemed to be the later of (1) dismissal of all claims and defenses in this Action,
28 with or without prejudice; and (2) final judgment herein after the completion and
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 1 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 2 including the time limits for filing any motions or applications for extension of time
 3 pursuant to applicable law.
 4 5.            DESIGNATING PROTECTED MATERIAL
 5               5.1   Exercise of Restraint and Care in Designating Material for Protection.
 6 Each Party or Non-Party that designates information or items for protection under this
 7 Order must take care to limit any such designation to specific material that qualifies
 8 under the appropriate standards. The Designating Party must designate for protection
 9 only those parts of material, documents, items, or oral or written communications that
10 qualify so that other portions of the material, documents, items, or communications
11 for which protection is not warranted are not swept unjustifiably within the ambit of
12 this Order.
13               Mass, indiscriminate, or routinized designations are prohibited. Designations
14 that are shown to be clearly unjustified or that have been made for an improper
15 purpose (e.g., to unnecessarily encumber the case development process or to impose
16 unnecessary expenses and burdens on other parties) may expose the Designating Party
17 to sanctions.
18               If it comes to a Designating Party’s attention that information or items that it
19 designated for protection do not qualify for protection, that Designating Party must
20 promptly notify all other Parties that it is withdrawing the inapplicable designation.
21               5.2   Manner and Timing of Designations. Except as otherwise provided in this
22 Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated
23 or ordered, Disclosure or Discovery Material that qualifies for protection under this
24 Order must be clearly so designated before the material is disclosed or produced.
25               Designation in conformity with this Order requires:
26                     (a)    for information in documentary form (e.g., paper or electronic
27 documents, but excluding transcripts of depositions or other pretrial or trial
28 proceedings), that the Producing Party affix at a minimum, the legend
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 1 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 2 contains protected material. If only a portion or portions of the material on a page
 3 qualifies for protection, the Producing Party also must clearly identify the protected
 4 portion(s) (e.g., by making appropriate markings in the margins).
 5               A Party or Non-Party that makes original documents available for inspection
 6 need not designate them for protection until after the inspecting Party has indicated
 7 which documents it would like copied and produced. During the inspection and
 8 before the designation, all of the material made available for inspection shall be
 9 deemed “CONFIDENTIAL.” After the inspecting Party has identified the
10 documents it wants copied and produced, the Producing Party must determine which
11 documents, or portions thereof, qualify for protection under this Order. Then, before
12 producing the specified documents, the Producing Party must affix the
13 “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
14 portion or portions of the material on a page qualifies for protection, the Producing
15 Party also must clearly identify the protected portion(s) (e.g., by making appropriate
16 markings in the margins).
17                     (b)   for testimony given in depositions that the Designating Party
18 identify the Disclosure or Discovery Material on the record, before the close of the
19 deposition all protected testimony.
20                     (c)   for information produced in some form other than documentary
21 and for any other tangible items, that the Producing Party affix in a prominent place
22 on the exterior of the container or containers in which the information is stored the
23 legend “CONFIDENTIAL.” If only a portion or portions of the information warrants
24 protection, the Producing Party, to the extent practicable, shall identify the protected
25 portion(s).
26               5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
27 failure to designate qualified information or items does not, standing alone, waive the
28 Designating Party’s right to secure protection under this Order for such material.
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 1 Upon timely correction of a designation, the Receiving Party must make reasonable
 2 efforts to assure that the material is treated in accordance with the provisions of this
 3 Order.
 4 6.            CHALLENGING CONFIDENTIALITY DESIGNATIONS
 5               6.1   Timing of Challenges. Any Party or Non-Party may challenge a
 6 designation of confidentiality at any time that is consistent with the Court’s
 7 Scheduling Order.
 8               6.2   Meet and Confer. The Challenging Party shall initiate the dispute
 9 resolution process under Local Rule 37.1 et seq.
10               6.3   The burden of persuasion in any such challenge proceeding shall be on
11 the Designating Party. Frivolous challenges, and those made for an improper purpose
12 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
13 expose the Challenging Party to sanctions. Unless the Designating Party has waived
14 or withdrawn the confidentiality designation, all parties shall continue to afford the
15 material in question the level of protection to which it is entitled under the Producing
16 Party’s designation until the Court rules on the challenge.
17 7.            ACCESS TO AND USE OF PROTECTED MATERIAL
18               7.1   Basic Principles. A Receiving Party may use Protected Material that is
19 disclosed or produced by another Party or by a Non-Party in connection with this
20 Action only for prosecuting, defending, or attempting to settle this Action. Such
21 Protected Material may be disclosed only to the categories of persons and under the
22 conditions described in this Order. When the Action has been terminated, a Receiving
23 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
24               Protected Material must be stored and maintained by a Receiving Party at a
25 location and in a secure manner that ensures that access is limited to the persons
26 authorized under this Order.
27               7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
28 otherwise ordered by the court or permitted in writing by the Designating Party, a
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 1 Receiving Party may disclose any information or item designated “CONFIDENTIAL”
 2 only to:
 3               (a)    the Receiving Party’s Outside Counsel of Record in this Action, as
 4 well as employees of said Outside Counsel of Record to whom it is reasonably
 5 necessary to disclose the information for this Action;
 6               (b)    the officers, directors, and employees (including House Counsel)
 7 of the Receiving Party to whom disclosure is reasonably necessary for this Action;
 8               (c)    Experts (as defined in this Order) of the Receiving Party to whom
 9 disclosure is reasonably necessary for this Action and who have signed the
10 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
11               (d)    the court and its personnel;
12               (e)    court reporters and their staff;
13               (f)    professional jury or trial consultants, mock jurors, and Professional
14 Vendors to whom disclosure is reasonably necessary for this Action and who have
15 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
16               (g)    the author or recipient of a document containing the information or
17 a custodian or other person who otherwise possessed or knew the information;
18               (h)    during their depositions, witnesses ,and attorneys for witnesses, in
19 the Action to whom disclosure is reasonably necessary provided: (1) the deposing
20 party requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they
21 will not be permitted to keep any confidential information unless they sign the
22 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
23 by the Designating Party or ordered by the court. Pages of transcribed deposition
24 testimony or exhibits to depositions that reveal Protected Material may be separately
25 bound by the court reporter and may not be disclosed to anyone except as permitted
26 under this Stipulated Protective Order; and
27               (i)    any mediator or settlement officer, and their supporting personnel,
28 mutually agreed upon by any of the parties engaged in settlement discussions.
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 1 8.            PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 2               OTHER LITIGATION
 3               If a Party is served with a subpoena or a court order issued in other litigation
 4 that compels disclosure of any information or items designated in this Action as
 5 “CONFIDENTIAL,” that Party must:
 6                     (a)    promptly notify in writing the Designating Party. Such notification
 7 shall include a copy of the subpoena or court order;
 8                     (b)    promptly notify in writing the party who caused the subpoena or
 9 order to issue in the other litigation that some or all of the material covered by the
10 subpoena or order is subject to this Protective Order. Such notification shall include a
11 copy of this Stipulated Protective Order; and
12                     (c)    cooperate with respect to all reasonable procedures sought to be
13 pursued by the Designating Party whose Protected Material may be affected.
14               If the Designating Party timely seeks a protective order, the Party served with
15 the subpoena or court order shall not produce any information designated in this
16 action as “CONFIDENTIAL” before a determination by the court from which the
17 subpoena or order issued, unless the Party has obtained the Designating Party’s
18 permission. The Designating Party shall bear the burden and expense of seeking
19 protection in that court of its confidential material and nothing in these provisions
20 should be construed as authorizing or encouraging a Receiving Party in this Action to
21 disobey a lawful directive from another court.
22 9.            A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
23               IN THIS LITIGATION
24                     (a)    The terms of this Order are applicable to information produced by
25 a Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
26 produced by Non-Parties in connection with this litigation is protected by the
27 remedies and relief provided by this Order. Nothing in these provisions should be
28 construed as prohibiting a Non-Party from seeking additional protections.
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  1                     (b)    In the event that a Party is required, by a valid discovery request,
  2 to produce a Non-Party’s confidential information in its possession, and the Party is
  3 subject to an agreement with the Non-Party not to produce the Non-Party’s
  4 confidential information, then the Party shall:
  5                            (1)   promptly notify in writing the Requesting Party and the
  6 Non-Party that some or all of the information requested is subject to a confidentiality
  7 agreement with a Non-Party;
  8                            (2)   promptly provide the Non-Party with a copy of the
  9 Stipulated Protective Order in this Action, the relevant discovery request(s), and a
 10 reasonably specific description of the information requested; and
 11                            (3)   make the information requested available for inspection by
 12 the Non-Party, if requested.
 13                     (c)    If the Non-Party fails to seek a protective order from this court
 14 within 14 days of receiving the notice and accompanying information, the Receiving
 15 Party may produce the Non-Party’s confidential information responsive to the
 16 discovery request. If the Non-Party timely seeks a protective order, the Receiving
 17 Party shall not produce any information in its possession or control that is subject to
 18 the confidentiality agreement with the Non-Party before a determination by the court.
 19 Absent a court order to the contrary, the Non-Party shall bear the burden and expense
 20 of seeking protection in this court of its Protected Material.
 21 10.           UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 22               If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 23 Protected Material to any person or in any circumstance not authorized under this
 24 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 25 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 26 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 27 persons to whom unauthorized disclosures were made of all the terms of this Order,
 28 and (d) request such person or persons to execute the “Acknowledgment and
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  1 Agreement to Be Bound” that is attached hereto as Exhibit A.
  2 11.           INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  3               PROTECTED MATERIAL
  4               When a Producing Party gives notice to Receiving Parties that certain
  5 inadvertently produced material is subject to a claim of privilege or other protection,
  6 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  7 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
  8 may be established in an e-discovery order that provides for production without prior
  9 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 10 parties reach an agreement on the effect of disclosure of a communication or
 11 information covered by the attorney-client privilege or work product protection, the
 12 parties may incorporate their agreement in the stipulated protective order submitted to
 13 the court.
 14 12.           MISCELLANEOUS
 15               12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 16 person to seek its modification by the Court in the future.
 17               12.2 Right to Assert Other Objections. By stipulating to the entry of this
 18 Protective Order no Party waives any right it otherwise would have to object to
 19 disclosing or producing any information or item on any ground not addressed in this
 20 Stipulated Protective Order. Similarly, no Party waives any right to object on any
 21 ground to use in evidence of any of the material covered by this Protective Order.
 22               12.3 Filing Protected Material. A Party that seeks to file under seal any
 23 Protected Material must comply with Civil Local Rule 79-5. Protected Material may
 24 only be filed under seal pursuant to a court order authorizing the sealing of the
 25 specific Protected Material at issue. If a Party’s request to file Protected Material
 26 under seal is denied by the court, then the Receiving Party may file the information in
 27 the public record unless otherwise instructed by the court.
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  1 13.           FINAL DISPOSITION
  2               After the final disposition of this Action, as defined in paragraph 4, within 60
  3 days of a written request by the Designating Party, each Receiving Party must return
  4 all Protected Material to the Producing Party or destroy such material. As used in this
  5 subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  6 summaries, and any other format reproducing or capturing any of the Protected
  7 Material. Whether the Protected Material is returned or destroyed, the Receiving
  8 Party must submit a written certification to the Producing Party (and, if not the same
  9 person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
 10 (by category, where appropriate) all the Protected Material that was returned or
 11 destroyed and (2) affirms that the Receiving Party has not retained any copies,
 12 abstracts, compilations, summaries or any other format reproducing or capturing any
 13 of the Protected Material. Notwithstanding this provision, Counsel are entitled to
 14 retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 15 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 16 reports, attorney work product, and consultant and expert work product, even if such
 17 materials contain Protected Material. Any such archival copies that contain or
 18 constitute Protected Material remain subject to this Protective Order as set forth in
 19 Section 4 (DURATION).
 20 14.           Any violation of this Order may be punished by any and all appropriate measures
 21 including, without limitation, contempt proceedings and/or monetary sanctions.
 22
 23
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                                SIGNATURES APPEAR ON NEXT PAGE
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  1 IT IS SO STIPULATED THROUGH COUNSEL OF RECORD.
  2
  3 DATED: May 18, 2022                 LOKER LAW, APC
  4
  5                                     By:    /s/ Matthew Loker
                                            MATTHEW M. LOKER
  6
                                        Attorneys for Plaintiff
  7                                     LORENA STAFFORD
  8
  9 DATED: May 18, 2022                 WOLFE & WYMAN LLP
 10
 11                                     By:    /s/ Cathy L. Granger
 12                                     CATHY L. GRANGER
                                        Attorneys for Defendant
 13
                                        PNC BANK, NATIONAL ASSOCIATION
 14
 15
      FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 16
 17 DATED:        May 24, 2022

 18
 19
 20
    Hon. Shashi H. Kewalramani
 21 Magistrate Judge
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  1                                          EXHIBIT A
  2               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3
  4     I, _________________ [print or type full name], of [print or type full address],
  5     declare under penalty of perjury that I have read in its entirety and understand the
  6     Stipulated Protective Order that was issued by the United States District Court for
  7     the Central District of California on _____ in the case of Lorena Stafford v. PNC
  8     Bank, National Association, et. al. (5:21-cv-00256-JGB-SHK). I agree to comply
  9     with and to be bound by all the terms of this Stipulated Protective Order and I
 10     understand and acknowledge that failure to so comply could expose me to
 11     sanctions and punishment in the nature of contempt. I solemnly promise that I will
 12     not disclose in any manner any information or item that is subject to this Stipulated
 13     Protective Order to any person or entity except in strict compliance with the
 14     provisions of this Order.
 15     I further agree to submit to the jurisdiction of the United States District Court for
 16     the Central District of California for the purpose of enforcing the terms of this
 17     Stipulated Protective Order, even if such enforcement proceedings occur after
 18     termination of this action. I hereby appoint ____________________ [print or type
 19     full name] of _____________________________ [print or type full address and
 20     telephone number] as my California agent for service of process in connection with
 21     this action or any proceedings related to enforcement of this Stipulated Protective
 22     Order.
 23
        Date: __________________________
 24
 25     City and State where sworn and signed: _____________________________

 26     Printed name:
 27     Signature:
 28
                                                  14
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